Case 1:21-cv-11292-WGY Document 1-1 Filed 08/09/21 Page 1 of 28




                                                                  Exhibit A
               Exhibit A
                                Case 1:21-cv-11292-WGY Document 1-1 Filed 08/09/21 Page 2 of 28

                                                                                                                                            Computershare Governance Services, Inc.
  {omputershare                                                                                                                              100 Beard Sawmill Road, Shelton, CT 06484



                                                                                                                                                                                        07/21/2021
                    InterContinental Hotels Group Resources, LLC
                    Meg Gleason
                    Six Continents Hotels, Inc.
                    3 Ravinia Drive, Suite 100
                    Atlanta GA 30346



SERVICE OF PROCESS NOTICE                                                                                                                                                            Item: 2021-219


The following is a courtesy summary of the enclosed document(s). ALL information should be verified by you.

Note: Any questions regarding the substance of the matter described below, including the status or how to respond, should be directed to the contact set forth in line 12 below or
to the court or government agency where the matter is being heard.



 1.
         I                     Entity Served:
                                                        IInterContinental Hotels Group Resources, LLC
 2.
         I                    Title of Action:
                                                        IEdwin Harmon vs. InterContinental Hotels Group Resources, LLC d/b/a Intercontinental Boston
 3.                 Document(s) Served:                  Summons
                                                         Amended Civil Action Cover Sheet
                                                         First Amended Complaint and Jury Demand
                                                         Exhibits

 4.                            Court/Agency:             Suffolk Superior Court

 5.                             State Served:            Massachusetts

 6.                            Case Number:              2184CV01375

 7.                                Case Type:            Fair Labor Standards Act

 8.                     Method of Service:               Hand Delivered

 9.                           Date Received:             Tuesday 07/20/2021

 10.                           Date to Client:           Wednesday 07/21/2021

 11.         # Days When Answer Due:                     20                                    -CAUTION:   Client is solely responsible for verifying the accuracy of the estimated Answer Due
                     Answer Due Date:                    Monday 08/09/2021                      Date. To avoid missing a crucial deadline, we recommend immediately confirming in writing
                                                                                               with opposing counsel that the date of the service in their records matches the Date Received.

 12.                              Sop Sender:            Daniel I. Lampke, Esq.
                (Name, City, State, and Phone Number)
                                                         Boston, MA
                                                         617-412-4099

 13.               Shipped To Client By:                 Email Only with PDF Link

 14.                     Tracking Number:

 15.                              Handled By:            221

 16.                                       Notes:        None

NOTE: This notice and the information above is provided for general informational purposes only and should not be considered a legal opinion. The client and their legal
counsel are solely responsible for reviewing the service of process and verifying the accuracy of all information. At ComputerShare, we take pride in developing systems that
effectively manage risk so our clients feel comfortable with the reliability of our service. We always deliver service of process so our clients avoid the risk of a default judgment.
As registered agent, our role is to receive and forward service of process. To decrease risk for our clients, it is not our role to determine the merits of whether service of
process is valid and effective. It is the role of legal counsel to assess whether service of process is invalid or defective. Registered agent services are provided by United Agent
Group Inc.
                                                                  Phone: 866 820 7754, Option 2 | www.cgsregisteredagent.com
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                                              Commonwealth of Massachusetts

           SUffOLK, SS                                                TRIAL COURT OF THE COMMONWEALTH
                                                                      SUPERIOR COURT DEPARTMENT
                                                                      CIVIL DOCKET NO. ),.'.).  2,L\(.\/01.'.,°1-S'




            You sJre being sued. The Plaintiff(s) named above has started a lawsuit against you. A copy of the
            Plaintiff's C_9m~int filed against you is attached to this summons and the original complaint has been
           filed in th,6.A\a\v..   s   U   f <.r\ O ("   Court. YOU MUST ACT PROMPTLY TO PROTECT YOUR RIGHTS.

1.          You must respond to this lawsuit in writing within 20 days. If you do not respond, the court may decide
           the case against you and award the Plaintiff everything asked for in the complaint. You will also lose the
            opportunity to tell your side of the story. You must respond to this lawsuit in writing even if you expect
           to resolve this matter with the Plaintiff. If you need more time to respond, you may request an
           extension of time in writing from the Court.
2.         How to Respond. To respond to this lawsuit, you must file a written response with the court and mail a
           copy to the Plaintiffs Attorney (or the Plaintiff, if unrepresented). You can do this by: ·   • ,
     a.'l ~~~t~~~~t~~:er~~ ~{\~§ee Clerk's Office for □vii                       Business~~         ~c.~~i~,
          Qe',',bc,   ~N'--~ o~dr{'b'~mail orin person, AND
     b.    Delivering or mailingt copy of your response to the Plaintiff's Attorney/Plaintiff at the following
           address:   Do.(\\{.\ 3;,.. ~ ~ t . . , Lc,.~\t-lAvl L\,(_, '\<O O S>,-v-\1..         s~, ~\ Cl,.    ~o'Yto", JV\f\ Od.')..~
                                                         1     1
3.         What to include in your response. An r Answer' is one type Gf response to a Complaint. Your Answer
           must state whether you agree or disagree with the fact(s) all_eged in each paragraph of the Complaint.
           Some defenses, called affirmative defenses, must be stated in your Answer or you may lose your right to
           use them in court. If you have any claims against the Plaintiff (referred to as counterclaims) that are
           based on the same facts or transaction described in the Complaint, then you must include those claims
           in your Answer. Otherwise, you may lose your right to sue the Plaintiff about anything related to this
           lawsuit. ff you want to have your case heard by a Jury, you must specifically request a jury trial in your
           Answer or in a written demand for a jury trial that you must send to the other side and file with the
           court no more than 10 days after sending your Answer. You can also respond to a Complaint by filing a
           "Motion to Dismiss," if you believe that the complaint is legally invalid or legally insufficient. A Motion
           to Dismiss must be based on one of the legal deficiencies or reasons listed under Mass. R. Civ. P. 12. If
           you are filing a Motion to Dismiss 1 you must also comply with the filing procedures for "Civil Motions"
           described in the rules of the Court in which the complaint was filed, available at
           www.mass.gov.courts/case-legal-res/rules of Court.
                  Case 1:21-cv-11292-WGY Document 1-1 Filed 08/09/21 Page 4 of 28




4.      Le.gal Assistance. You may wish to get legal help from a lawyer. If you cannot get legal help, some basic
        information for people who represent themselv£s is avaUable atwww.mass.gov/courts/selfhelp.
5.      Required information on all filings:
                                     . .
                                             The
                                             - '.
                                                  "civil docket number" appearing at the top of this notice is the
        case nu~ber assigried to thts case a!ld must appear on the front of your Answer or Motion to Dis.miss.
        You should refer to yourselhisthe "Defendant."

        Witness Hon. Judith Fabricant, Chi~f Justice on          -::Sv \'\ 5
     '/~~~~
       ererk-Magistrate
       Note: The number assigned to the Complaint by the Clerk-Magistrate at tne beginning of tile lawsuit should be indicated on the
      summons before it is served on the Defendant.




                                            PROOF OF SERVICE OF PROCESS

               I hereby certify that on _ _ _ _ _ _ _ _ _ _ _~ 20~ I served a copy of this summons,
      together with a copy of the complaint in this action, on the defendant named in this summons, in the
     following manner {See Mass. R. Civ. P. 4 (d)(l-5)):




     Dated: - - - - - - - - - - ~ 20_                                    Signature: _ _ _ _ _ _ _ _ _ _ _ _ _ __




     N. B.    TO PROCESS SERVER:

              PLEASE ENTER THE DATE THAT YOU MADE SERVICE ON THE DEFENDANT IN THIS BOX- BOTH
     ON THE ORIGINAL SUMMONS AND ON THE COPY OF THE SUMMONS SERVED ON THE DEFENDANT.




                                               I                                                                               I
    ..



                                                                                                                                                                                          •
                               Case 1:21-cv-11292-WGY  Document 1-1 Filed 08/09/21 Page 5 of 28
                             AMENDED                DOCKET NUMBER      Trial Court of Massachusetts
'
            CIVIL ACTION COVER SHEET                                    2184CV01375                      The Superior Court
                                                                                                        ~OUNTY !Suffolk Superior Court (Boston)
     Plalntllf                   Edwin Harmon                                              Defendant:               Intercontinental Hotels Group Resources, LLC
    ADDRESS:               29 Reynolds Ave                                                 ADDRESS:            d/b/a Intercontinental Boston
     Randolph, MA 02368                                                                    510 Atlantic Ave
                                                                                           Boston, MA 02110
     Plaintiff Attorney:         Daniel I. Lampk•                                          Del8ndant Attorney:
    ADDRESS:               100 State Street, Suite 900                                     ADDRESS:
     Boston, MA 02109
     6.17-412-40991 danieLl.-npkaClampkalaw.com

    880:                   703597                                                          880:
                                                TYPE Of" ACTION AND TRACK DE'SIGHATlOI'( (see !nstructions section belowJ
                 CODE NO.                         TYPE OF ACTION (specify)                  TRACK             HAS A JURY CLAIM BEEN MADE?
           A04                            Employment Contract                            F                     ~YES          NO                      0
    "If "Other" please describe:
                                     la there a claim under G.L. c. 93A?                                      Is there a class action under Mass. R. Clv. P. 23?
                                         □ YES        ~ NO                                              □ YES                  ~NO
                                                         IIIAIEMEl'II QE MPIIAGES eUBlllJA!!II IQ !i,L. ,, 212, § 3A
    The following is a full, Hemized and detailed statement oflhe facts on which the undersigned plalntlff or plaintiff's counsel relies to determine money damages.
    For this form, disregard double or treble damage claims; indicate single damages only.
                                                                                                                                                                                    .·-
                                                                                    IQBICU\IMS                                              ;-,;
                                                                                                                                            .... ,
                                                                                                                                                      ·~
                                                                                                                                                                  (;·)
    A. Documented medical expenses to date
                                                                                                                                      n-·•·                   n:...:::
                 1. Total hospital expenses
                                                                                                                                     r--
                                                                                                                                     r-:-r ►
                                                                                                                                                      : !s!   -
                                                                                                                                                              <~    'I



                 2. Total doctor expenses
                                                                                                                                     ~·.:..'
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                                                                                                                                                              c:,;;r:
                 3. Total chiropractic expenses                                                                                      ;?~
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                 4. To!alpllysicaitflerapy expenees                                                                                e;-\.,1                    ;:,;,,,         ~·-
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                 5. Total other expenses (describe below)                                                                         --·•,r
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                                                                                                         Subtotal (1-5):                    C>
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                                                                                                                                                              ft~
                                                                                                                                                               .--,
    B. Documented lost wages and compensation to date
    C. Documented property damages to data
    D. Reasonably anticl9afed futwe madicaland ~ 1 ex(JeDMS
    E. Reasonably anticipated lost wages
    F. Other documented Items of damages (describe below)

                                                                                                                                        I
                                                                                                         TOTAL (A-F):                                           $0.00
     G. Briefly describe plaintiff's Injury, including !he nature and extent of injury:

                                                                                                                                                                                          I
                                                                                CQl!ITRACT Cl.AIMS
         D This action includes a claim lnvoMng collection of a debt Incurred pursuant to a revolving credit agreement Mass. R. Civ. P. 8.1 (a).
          Item#                                                    Detailed Description of Each Claim                                                                   Amount
                        Violation of Fair Labor Standards Act (FLSA) by falling to timely pay due and payable wages at overtime rate of
           1.                                                                                                                                                             $469,713.60
                        $47.16 hourly for 4,980 overtime hours, liquidated (i.e., doubled)
                        Vlolatlon of Massachusetts Wage Act by fsillng to timely pay due and payable wagas at overtime rate of $47.18
           2.                                                                                                                                                             $704,570.40
                        hourly for 4,980 overtime hours, trebled

           3.
                        Vi- ofMassadtusetts 'Wage Act by lafflng to ttmely pay due and payable wages at regular rate of $31.44                                            $469,713.60
                        hourly for 4,980 overtime hours, trebled
                                                                                                                                                      Total              $1,843,997.60



    Signature of Attorney/Unrepresented Plaintiff: X /s/ Daniel I. Lampke                                                        I          I        Date:         June 22, 2021
     RELATED ACTIONS: Please provide the case number, case name, and county of any related actions pending in the Superior Court
                                                                                                                                                                                              j
         SC0001: 1122/2021                                               www.mass.gov/courts                                                  Date/Time Printed:06-22-202114:51:25
•,--------------------------------=-,-------------------------,
        ,
           Case 1:21-cv-11292-WGY Document 1-1 Filed 08/09/21 Page 6 of 28
                                                             CERTIFICATION PURSUANT TO SJC RULE 1:18
  I hereby certify that I have complied with requirements of Rule 5 of the Supreme Judldal Court Uniform Rules on Dispute Reaolutlon (SJC Rule 1:18) requiring that I provide my
  clients with lnfonnatlon about oourt-connected dispute resolution services and discuss with them the advantages and <fisadvantages of the various methods of dilpUte resolution.
 Signature of Attorney/Unrepresented Plaintiff: X /s/ Daniel I. Lampke                                                               I    I   Dale:           June 22, 2021




 SCD001: 1/22/2021                                                   www.mass.aov/courts                                                  Date/Time Prln1ed:D6-22-202114:51:25
     Case 1:21-cv-11292-WGY Document 1-1 Filed 08/09/21 Page 7 of 28




                     COMMONWEALTH OF MASSACHUSETTS

SUFFOLK, ss                               SUPERIOR COURT DEPT
                                             CIVIL ACTION NO. 2184CV01375

EDWIN HARMON,

                Plaintiffs,

v.

INTERCONTINENTAL HOTEL GROUP RESOURCES, LLC
d/b/a INTERCONTINENTAL BOSTON

              Defendants.
                                                                        ~                   (:/)
                                                                   .-- •.-·1   ·~       c,!7;
              FIRST AMENDED COMPLAINT AND JURY             D~:f.
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                                                                                                    - .'f

                                                                   ;:.-: 1-    c::      ("') ;,i;
     Pursuant to Mass. R. Civ. P. lS(a), Plaintiff E?f'!J:iri:,.::;;~
                                                   ~.:; ::·~ U1  ~ ~~
Harmon amends his complaint as of course, and submi~~~tht, h~in
                                                                   ;:_,.(-.)            -rr:u
                                                                   ).• :.: . ;s; ..,, "
claims for unpaid wages against his former employer;D#.fE6damg
                                                                       -·      0            ~
Intercontinental Hotels Group Resources, LLC d/b/a

Intercontinental Boston ("IHG") for violating the Fair Labor

Standards Act (FLSA) 29 U.S.C.        §§ 201    et seq and Massachusetts

Wage Act ("Wage Act") G.L. c. 149,          §§ 148-150     by failing to pay

Harmon his wages at the overtime rate ($47.16 hourly) and

regular rate ($31.44 hourly) of pay for the approximate 4,980

total overtime hours he worked, seeking judgment, damages

including mandatory treble damages, mandatory attorney fees,

costs, and prejudgment and postjudgment interest for his damages

ar1sing therefrom.




                                                                         Pagel.of 16
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                                PARTIES

     1.   Plaintiff Edwin Z. Harmon is a former employee of

Defendant Intercontinental Hotel Group (IHG), and an individual

natural person residing in Randolph, Massachusetts.

     2.   Defendant Intercontinental Hotels Group Resources, LLC

d/b/a Intercontinental Boston ("IHG") is Harmon's former

employer, a hotel services company, registered to do business in

Massachusetts with a usual place of business located at 510

Atlantic Avenue, Boston, Massachusetts, 02210 where at all times

relevant hereto it was the operator of the Intercontinental

Hotel Boston or Intercontinental Boston ("Hotel").

              FACTUAL l\IJ:EGATIONS CQMMQN TO JlIJ, COUNTS

     3.   IHG employed Harmon as a Banquet Sous Chef at the

Hotel, reporting to Banquet Chef Josean Roasado and indirectly

to Executive Chef Didier Montarou, for which Harmon would be

compensated by $2,307.70 bi-weekly resulting in an annualized

gross salary of $60,000.00. A true and accurate copy of IHG's

Offer of Employment ("Offer Letter") to Harmon is attached

hereto as Exhibit A and incorporated by reference herein.

     4.   On December 1, 2015, Harmon began working for IHG at

the Hotel as Banquet Sous Che·f in the Banquet Culinary

Department.



                                                             Page 2 of 16
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         5.    At some point thereafter, IHG increased Harmon's

    salary to at least $30. 37 when converted _to an hourly wage.

         6.    At some point thereafter, IHG increased Harmon's

    salary to at least $31.44 when converted to an hourly wage. A

    true and accurate copy of Harmon's Earnings Statement dated

    March 12, 2020 is attached hereto as Exhibit Band is

    incorporated by reference herein.

         7.    On June 30, 2020, IHG terminated Harmon's employment.

                                    COUNT I
               Violation of Fair Labor Standards Act (FLSA)
                   Failure to Pay Overtime Compensation

         8.    Harmon hereby repeats, realleges, and incorporates by

    reference the above allegations as if fully set forth herein.

         9.    At all times relevant hereto, IHG was engaged in

    interstate commerce, and its combined. annual sales made or

    business done exceeds $500,000 exclusive of excise taxes; Harmon

    was an individual employee engaged in commerce or the production

    of goods for commerce; and IHG regularly transacted business

    within this District.

       BaZJUOn Worked overtime By -Working .More than 40 Bours Weekly

         10.   IHG regularly scheduled Harmon to work at the Hotel

    from approximately 7:00 AM to 3:30 PM.




                                                                Page 3 of 16
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.•   .




                 11.   However, on multiple occasions, Harmon continued his

         daily work at the Hotel beyond 3:30 PM, regularly working at the

         Hotel's banquets until approximately 9:00 PM to 11:00 PM.

                 12.   Harmon worked more than 40 hours in multiple

         individual workweeks for IHG during the course of his employment

         at the Hotel, and regularly worked in excess of 40.hours per

         week.

                 13.   Harmon regularly worked at least 50 hours in multiple

         individual workweeks for IHG during the course of his employment

         at the Hotel.

                 14.   Harmon regularly worked at least 55 hours in multiple

         individual workweeks for IHG during the course of his employment

         at the Hotel.

                 15.   Harmon regularly worked at least 70 hours in multiple

         individual workweeks for IHG during the course of his employment

         at the Hotel.




                                                                      Page 4 of 16
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     16.   Harmon-regularly worked on average approximately 55

hours in each individual workweek between the months of January

through the end of May in each of the years of Harmon's

employment with IHG, consisting of 11 hours per day at 5 days

each week, resulting in approximately 15 overtime hours each

week and 1,350 total overtime hours Harmon worked during that

time period without pay at the overtime rate or regular rate

based on 55 hours per week for 90 total weeks (at 4.3 weeks

average per month).

     17.   Harmon regularly worked on average approximately 70

hours in each individual workweek between the months of June

through the end of December in each of the years of Harmon's

employment with IHG, consisting of 14 hours per day at 5 days

each week, resulting in approximately 30 overtime hours each

week and 3,630 total overtime hours Harmon worked during that

time period without pay at the overtime rate or regular rate

based on 70 hours per week for 121 total weeks (at 4.3 weeks

average per month).

     18.   Thus, in total, Harmon worked approximately 4,980

total overtime hours for IHG without receiving pay at the

overtime or regular rate.




                                                            Page 5 of 16
    Case 1:21-cv-11292-WGY Document 1-1 Filed 08/09/21 Page 12 of 28




     19.   IHG did not keep records tracking how many hours

Harmon actually worked each individual week.

     20.   Harmon is a non-exempt employee based on the job

duties he actually performed in fact detailed below.

     21.   The effective hourly rate paid to Harmon failed to

compensate him for the overtime rate for.all hours worked in

excess of forty (40) in multiple individual workweeks.

     22.   IHG did not compensate Harmon at the overtime rate of

one and one-half times his regular rate of pay for all hours

worked in excess of forty (40) in multiple individual workweeks.

     23.   IHG knew or at least should have known that Harmon

worked hours in excess of 40 in multiple individual workweeks.

     24.   IHG repeatedly, knowingly, willfully, and

intentionally violated the FLSA, or recklessly disregarded its

requirement to pay the overtime rate of pay to Harmon.

     25.   As a direct result, Harmon has suffered monetary

damages.

            Harmo11Primari1y Cooked and Prepared Food,
           Per:Eormed Routine Manua1 And Physica1 Work,
               And Did Not Per:Eorm. Management Duties

     26.   Harmon's daily work at the Hotel predominantly

consisted of routine mental, manual, mechanical or physical

work, as detailed herein.




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;
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•

         27.   The majority of Harmon's time working at the Hotel

    consisted of cooking, food preparation, and putting food and

    other deliveries away for storage. Cooking and food preparation,

    and putting food and other deliveries away for storage was

    Harmon's primary, principal, main, major or most important duty

    in working at the Hotel, and he performed it each day of work.

         28.   Harmon performed food preparation tasks similar to

    those performed by other Hotel kitchen staff. Performing food

    preparation tasks similar to those performed by other Hotel

    kitchen staff was Harmon's primary, principal, main, major or

    most important duty while working at the Hotel.

         29.   IHG, through the Hotel's Executive Chef or Banquet

    Chef, directed Harmon as to what work duties to perform and when

    to perform them. IHG did not permit Harmon to.make decisions

    regarding which work duties to perform and when to perform them.

         30.   Harmon was not responsible for the success or failure

    of the Hotel's business operations.

         31.   The primary, principal, main, major or most important

    duty which Harmmon performed in working at the Hotel did not

    consist of the management of the Hotel or kitchen or Banquet

    Culinary Department, or any other customarily recognized

    department or subdivision of the Hotel.




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;
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         32.   Harmon did not customarily and regularly direct the

    work of two or more other Hotel employees.

         33.   Harmon did not have the authority to hire or fire

    other employees.

         34.   Harmon did not manage the Hotel or the kitchen or

    Banquet Culinary Department, or any other department or

    subdivision of the Hotel.

         35.   Harmon did not interview or select IHG's employees.

    Interviewing, selecting, and training of IHG's employees was not

    Harmon's primary, principal, main, major or most important duty

    in working at the Hotel.

         36.   Harmon did not set and adjust employees' rates of pay

    and hours of work. Setting and adjusting employees' rates of pay

    and hours of work was not Harmon's primary, principal, main,

    major or most important duty in working at the Hotel.

         37.   Harmon has not attained a four-year specialized

    academic degree in a culinary arts program.

                   Hazmo.11 Did Not Direct E:zzg:>.loyees' Work

         38.   Harmon did not direct the work of employees, or if he

    did, it was rare. Directing the work of employees was not

    Harmon's primary, principal, main, major or most important duty

    in working at the Hotel.




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J
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         39.   Harmon did not maintain production or sales records

    for use in supervision or control. Maintaining production or

    sales records for use in supervision or control was not Harmon's

    primary, principal, main, major or most important duty in

    working at the Hotel.

         40.   Harmon did not appraise employees' productivity and

    efficiency for the purpose of recommending promotions or other

    changes in status, or if he did, it was rare and only to help

    the Banquet Chef. Appraising employees' productivity and

    efficiency for the purpose of recommending promotions or other

    changes in status was not Harmon's primary, -principal, main,

    major or most important duty in working at the Hotel.

         41.   Harmon did not handle employee complaints and

    grievances. Handling employee complaints and grievances was not

    Harmon's primary, principal, main, major or most important duty

    in working at the Hotel.

         42.   Harmon did not discipline employees. Disciplining

    employees was not Harmon's primary, principal, main, major or

    most important duty in working at the Hotel. Discipline of Hotel

    kitchen employees was performed by the Executive Chef, Banquet

    Chef, union, or the Hotel's human resources.




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     43.   Harmon did not plan the work of employees. Planning

the work of employees was not Harmon's primary, principal, main,

major or most important duty in working at the Hotel.

     44.   Harmon did not determine the techniques to be used in

working at the Hotel. Determining the techniques to be used at

the Hotel was not Harmon's primary, principal, main, major or

most important duty in working at the Hotel.

     45.   Harmon did not apportion the work among the employees

in working at the Hotel. Apportioning the work among the

employees was not Harmon's primary, principal, main, major or

most important duty in working at the Hotel.

     46.   Harmon did not provide for the safety and security of

the employees or the property in working at the Hotel. Providing

for the safety and security of the employees or the property was

not Harmon's primary, principal, main, major or most important

duty in working at the Hotel.

     47.   Harmon did not plan and control the budget in working

at the Hotel. Planning and controlling the budget was not

Harmon's primary, principal, main, major or most important duty

in working at the Hotel.

     48.   Harmon did not monitor or implement legal compliance

measures in working at the Hotel. Monitoring or implementing




                                                           Page 10 of 16
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legal compliance measures was not Harmon's primary, principal,

main, major o:r most important duty in working at the Hotel.

     49.   The Hotel's Executive Chef and Banquet Chef performed

the majority of the kitchen and banquet managerial duties.

Kitchen and banquet managerial duties were the principal, main,

major or most important duty of the Hotel Executive Chef or

Banquet Chef

     50.   Harmon did not prepare menus for the Hotel. Preparing

menus was not Harmon's primary, principal, main, major or most

important duty in working at the Hotel. The Hotel Executive Chef

created, planned, and scheduled the menus. Creating, planning,

and scheduling the menus was the Hotel Executive Chef's primary,

principal, main, major or most important duty.

     SL    Deciding   the amount and manner of food production was

not Harmmon's primary, principal, main, major or most important

duty in working at the Hotel.

     52.   Maintaining appropriate food supplies was not Harmon's

primary, principal, main, major or most important duty in

working_ at the Hotel. Maintaining appropriate food supplies was

the primary, principal, main, major or most important duty of

the Hotel Executive Cher or the Banquet Chef.




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     53.   Overseeing staff performance and productivity was not

Harmmon's primary, principal, main, major or most important duty

in working at the Hotel. Overseeing staff performance and

productivity was the primary, principal, main, major or,most

important duty of the Hotel Executive Chef or the Banquet Chef.

Performance reviews was the primary, principal, main, major or

most important duty of the Hotel Banquet Chef.

     54.   Harmon's salary was not double that of the Hotel's

other kitchen employees. Harmon's annual salary, when conve.rted

to an hourly wage, was not substantially more than that earned

by the Hotel's hourly employees.

     55.   Supervising employees was not Harmmon's primary,

principal, main, major or most important duty while working at

the Hotel. Harmon did not have a specific number of cooks

assigned to him for him to supervise.

     56.   Harmon did not direct the Hotel's chefs and cooks as

to how to cook the food, what equipment to use, how to plate the

food, or how to pack the food before and after a catered event,

or if he did, it was rare.

     57.   Most of the Hotel's chefs and cooks already knew how

to cook the food, what equipment to use, how to plate the food,

or how to pack the food before and after a catered event.




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     58.     The majority of the time food plating was performed by

the Hotel's Executive Chef or Banquet Chef.

     59.     Harmon did not provide special cooking instructions,

or if he did, it was rare. Special cooking instructions, if any,

were provided by the Hotel Executive Chef or Banquet Chef.

     60.     Harmon did not instruct other employees on the

preparation and presentation of the menu for the majority of

time he worked at the Hotel, or if he did, it was rare.

     61.     Harmon did not specify the items to be used in the

Hotel kitchen. The Hotel Executive Chef or Banquet Chef

specified the items to be used in the Hotel kitchen.

     62.     Harmon did not make employees' work schedules. The

Hotel Executive Chef or Banquet Chef made employees' work

schedules.

     63.     Harmon did not have a company credit card, as IHG and

the-Hotel did not provide a corporate credit card to Harmon. The

Hotel did not provide Harmon with keys to the liquor room or the

recycle oil-bin.

  Harmon Did Not Have Authority To Hire Or Fire Eap1oyees, And
 IBG Did Not Give Weight To His Suggestions And Rel'"oznmendations

     64.     Harmon did not provide suggestions and recommendations

as to hiring, firing, advancement, promotion or change of status

of other employees, or if he did, it was rare, and was not given



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particular weight by the Hotel or IHG and, not relied upon more

than one time, if ever.

     65.   Suggestions and recommendations as to the hiring,

firing, advancement, promotion or change of status of other

employees was not part of Harmon's job duties in fact.

     66.   IHG and the Hotel did not request Harmon's suggestions

and recommendations as to the hiring, firing, advancement,

promotion or change of status of other employees, or if they

did, it was rare.

                               COUNT II
   Violation of MA Wage Act (Wage Act) G.L. c. 149, §§ 148-150
            Failure to Timely Pay Due & Payable Wages
               for Overtime Hours at Overtime Rate

     67.   Harmon hereby repeats, realleges, and incorporates by

reference the above allegations as if fully set forth herein.

     68.   As set forth above, IHG failed to timely pay Harmon

wages due and payable at the overtime rate of pay under the FLSA

for any of the approximate 4,980 total overtime he worked on the

date of his termination or anytime thereafter, which caused him

to be deprived of their full overtime rate amount.

     69.   Thus, Harmon suffered monetary damages as a result of

IHG's failures to timely pay due and payable wages.




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     70.   Harmon has exhausted all administrative remedies with

the Office of the Attorney General, and has obtained a Private

Right of Action {PRA) Letter prior to the filing of this suit.

                               COUNT III
   Violation of MJI. Wage Act (Wage Act) G.L. c. 149, §§ 148-150
            Failure to Timely Pay Due &-Payable Wages
                for Overtime Hours at Regular Rate

     71.   Harmon hereby repeats, realleges, and incorporates by

reference the above allegations as if fully set forth herein.

     72.   As set forth above, IHG failed to timely pay Harmon

wages due and payable at his regular rate of pay for any of the

approximate 4,980 total overtime hours he worked on the date of

his termination or anytime thereafter, which caused him to be

deprived of their full regular rate amount.

     73.   Thus, Harmon suffered monetary damages as a result of

IHG's failures to timely pay due and payable wages.




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..
                                             PRAYER FOR RELIEF
           WHEREFORE, Harmon prays that this Honorable Court grant the
      following relief:

       I.     Judgment against the Defendants;

      II.     Damages for all wages at the applicable overtime, premium,
              and regular rates of pay, liquidated and trebled as
              authorized or mandated by applicable law, in an amount to
              be determined at trial;
     III.     Attorney fees and costs;

      IV.     Prejudgment and postjudgment interest;

       V.     Any other relief as this Honorable Court may deem just and
              appropriate to Harmon under the circumstances.

                                             uURY TltllL PBIPNP
      Harmon demands a trial by jury on all issues so triable.


      Respectfully Submitted,
      Plaintiff Edwin Z. Harmon
      By his attorney,

      L(~s~/__..D~a~n~i~e~l.__I....._,_L~~am"""p~k~e.____ Dated: 06/22/2021

      Daniel I. Lampke, Esq.                (BBO No. 703597)
      LampkeLaw LLC
      100 State Street, Suite 900
      Boston, MA 02109
      617-412-4099
      daniel.lampke@lampkelaw.com




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                Exhibit A
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    0 INTERCONTINENTAL4·
              BOSTON                                     I
                                                                                                       Exhibit A - Offer Letter



            October 23, 201~

           Edwin Harmon
           EdwlnHarmon@yaboo.com:


            DearEdwinJ

            On behalf of Inte,COntinental Hotels Group Resowces, Inc. it Is a pleasure to offer }'Ol\
            the position of Banquet Sous Chef, InterContlnental Boston. In this role yoo will report;
            to 1C>Jean Rosado, Banquet Chef and indirectly to Didier Montarou Executive Chef;

           Th, following terms will apply:                                                        I
           This uslgnment will commence on or around November 11, 201S baaed on your written:
           accepbmcG. You will be paid $2,307.70 bl-weekly; an annualized salary of $60,0<KJi
           gross. To 08111st in ,our relOl:llllon from Balll1non, fhe Hotel wm provide mmpora,t.
           horuing         at,,,.
                          HoUI for up to 30-daya alo111 with a l-tim, frunp 1111n bomu of$2,SOIJJ
           All paychecks will be subject to deductions required by Jawi

            Your first 90 days of employment are considered your "Introductory Periocl.j
            Throughout and upon completion of your Introductll1')' Period, your performance will bq
            evaluated to ensure company pel'formanoe standarda havo been met. Thel'Clftei, you will;
            receive 811 annual perfomumco and •           review, per tho eompany guidlllinesj
            Notwithstanding the Jntroducto'i)' ~od, pleaae note that, UDless otherwise prohibited bYi
            law, the company maintains 1111 "at-will" employment relatlOl!Shlp at all tlme&.j

            You will be eligible to participate in mo• s comprehonslve may of bead'its includinsl
            medical, dental, vision, disabillty, and life Insurance, flexible spending accounts, 40l(k)~
            and paid time off. A benefits BllllUDlll'Y has been enclosed for your review which on~
            the apecHlc waiting period. u,idl 101P' .u,u,tlitJ, th, H.(ltsl wl.ll ,.,,~. COB~
            ,:oat, thl◄fa ,mid ,empt for                co,.,.-
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            adheres to a conservative formal grooming attire and jewelry policy that will bq
            monitored on a regular basis by your manager. A copy of the policy as discussed durlns
            the 'interview process is enclosed for your review. Your acceptance of the offer include&
            yo11r acknowledgment of adherence to our groomlns policy.

           Us• ofMalulal8 from Form,r Bmplo111i
           All set forth In mo•s Code of Ethics and Bus!IICSS Conduct, 1h11 Company is committed'.
           fo open, free, and fair competition in onr markets. As a result, you 81'11 prohibited from;
           using In any way or iharlng with other mo employees, contractors or business partnen!
           any confidential Information or trade secrels belonging to any former employer Ot!
           competitor of IHO,

           lnllrContlnlnial Hok/1 Gro11p


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    0 INTERCONTINENTAL.!
        BOSTON                                 !
      Edwin Harmolt.
      ConftnnaJio,i LeUer.


      Please confirm your acceptance (via signature below and initial each page) of th~
      confirmalion and return a signed original to my office. A duplicate has been included for;
      you to retain ror your recordsi

      We look forward 10 you joining IntorContinental Hotels Group Resources, Inc, a11d thtj
      lnterContinental Boston,

      Sincerel~-
           ·.                        l L~)(ie         1...,1.1t   l'.:11'\
      JayBabbJII
      Director of Human Resources
      lnterContlnental Boston
      Please I'll/urn both paga, oJthl3 II/tar, with :,011r origl11al 1t,,u,J1tn qfau1p/tlnc1 by Octob,r 21, l0lSj


      Signature:
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      •JHG bat parlt111Td with Hi1'flllalt1 to C011duct a thorough mu/ t:tmf/denllal badrtT01J111l chide an oar/
      btihalf. Upon receM11g yoar lignftl offer ltller, we w/11 pl'Ollidl HirtRt,ltt wflh JOUr IIIUIII and en,ail
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!                    Exhibit B
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                        Case 1:21-cv-11292-WGY Document 1-1 Filed 08/09/21 Page 27 of 28
,   '                                                                                                     Earnings Statement
                                                                                390-0002
                      /HG RESOURCES, LLC                                                                  Period Beginning:      02/21/2020
                      GROUP RESOURCES, INC.                                                               Period Ending:         03/05/2020
                       11580 GREAT OAKS WAY                                                               Pay Date:              03/12/2020
                      ALPHARETTA,       GA 30022
                                                                                                                   Exhibit B - Earning Statement
                     Taxable Marl1al Status:     Bingle                                                       EDWIN HARMON
                      Exempllons/Allowances:
                         _,               0,$50 Additional Tax                                                29 REYNOLDS AVE
                         MA:              0                                                                   RANDOLPH MA 02368-3739



    Earnings                             houn,            lhl• period                      year to date
    Regular              31.4425        80.00             2,515.40                          11,822.38
    HoBday Pay                                                                                            • Excr.Kied from. federal. texeble wages.
                                                                                             1,008.16
    Personal Pay                                                                               503.08
    Vacation                                                                                 1,780.78       Your federal taxable wages this period are
                                                                                                            $2,298.92
                                                                                            15,092.40
                                                                                                          Other Benefits and
    Daductlona     Statutory                                                                              Information              this period        lolal to date
                   Federal Income Tax                                                                     Imputed Income                3.18                   19.08
                                                              -361 .69                        2,172.78
                   Sodai~Ta;,                             . • ,55 .21                           93,.24    TCGI Wllf1r HIS              80.00
                   Medicare Tax               -36 .30                                           217.79    Yid 401 K Match                                    603.72
                   MA State Income Tax       -105 .37                                           632,22
                   MA Paid Family Leave Ins    -3 .27                                                     Employee Id                                        102089
                                                                                                 19.62
                   MA Paid Medical Leave Ins   -6 .24                                                     Personal Bal Hr                                      11.49
                                                                                                 37,43
                                                                                                          Vacation Bal Hr                                      20.48
                   Other
                   A DID                                       -0 .46                            2.76
                   Accident Ins                                -4 .46                           26.76
                   Garnishment                              -275. 10                         1,650.22
                   LTD                                          -5 .69                          34.14
                   Medical                                    -13 .30*                          79.80
                   Short Tenn Dis                               -5 .92                           35.52
                   Suppl Life                                 -18 .09                           10a:54
                   Vision                                      -1 . 95•                         11.70
                   401K                                     -201 .23*                        1,207.38

                   Checking                          -1 ,321. 12

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                   '<R'l'%1'                               :.,;.',   ' .•,,.,,' '

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                    IHG RESOURCES, LLC
                    GROUP RESOURCES, INC.
                    11580 GREAT OAKS WAY
                    ALPHARETTA, GA 30022

                                                                                                                                                         amount
                                                                                                                                                       $1,321.12




                                                                                                                   NON-NEGOTIABLE
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